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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re: Chapter 11
MICHAEL CARBONE, SR.., Case No. 16-45189 (NHL)

Debtor.
X

 

FIRST AMENDED CHAPTER 11 PLAN OF REORGANIZATION

Michael Carbone, Sr., the debtor and debtor-in-possession herein (the “Debtor”), hereby
proposes the following First Amended Chapter 11 Plan of Reorganization (the “Plan”) pursuant
to $1121 (a) of chapter [1 of title 11 of the United States Code (the “Bankruptcy Code”).
Reference is made to the Debtor’s court-approved “Disclosure Statement” for risk factors and a
summary and analysis of the Plan and certain related matters. The Debtor is the proponent of the
Plan within the meaning of 11 U.S.C. §1129. Subject to the restrictions on modifications set
forth in 11 U.S.C. §1127, Rule 3019 of the Federal Rules of Bankruptcy Procedure and the
provisions of the Plan, the Debtor expressly reserves the right to alter, amend or modify the Plan,
as needed, at any time prior to substantial consummation thereof:

ARTICLE I

RULES OF CONSTRUCTION AND DEFINITIONS

1.A Rules of Construction.

L.A.1 In this Plan, unless otherwise provided, the capitalized terms will have
the meaning set forth in Section B of this Article.

1.4.2 Any capitalized term used in this Plan that is not defined in Section B of
this Article will have the meaning ascribed to such term in the Bankruptcy Code.

1.A.3 The rules of construction used in §102 of the Bankruptcy Code will apply .
to the construction of this Plan.

1.4.4 For the purposes of this Plan, wherever the Plan provides that a payment.
distribution or other action shall occur “on” any date, it shall mean “on, or as soon as practicable
after” such date.

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1.4.5 For the purposes of this Plan, the meanings below and in the Bankruptcy
Code will apply equally to the singular, plural and possessive forms and masculine, feminine and
neuter genders of the defined terms.

1.4.6  Allof the following definitions are intended to be, and hereby are. part of
the substantive provisions of this Plan and have the same force and effect as any other provision
of this Plan.

1.A.7 For the purposes of the Plan, whenever notice is required, notice shall be
effective when given.

1.B. Definitions.

1.B.1 “Administrative Claim” means any Allowed Claim constituting a cost or
expense of administration incurred on or after the Petition Date of the kind described in §503(b)
of the Bankruptcy Code, including, without limitation all allowances of compensation or
reimbursement of expenses to Professionals to the extent allowed by the Bankruptcy Court.

1.8.2 “Allowed” or “Allowed Claim” means any Claim or Interest against the
Debtor that is scheduled by or on behalf of the Debtor as not disputed, contingent or
unliquidated, or proof of claim or request for payment of an administrative expense which has
been filed timely with the Bankruptcy Court and, in either case, a Claim (a) as to which no
objection has been interposed within one hundred twenty (120) days after the Effective Date or
(b) as to which an objection has been interposed and such Claim has been alowed by a Final

Order of the Bankruptcy Court.

1.B.3. “Available Cash” means the Cash available to fund Distributions under
the Plan on the Effective Date.

1.B.4 “Ballot” means the document (or manually executed facsimile thereof)
for use in voting on this Plan which, in order to vote on the Plan, must be executed and delivered
by holders of claims and interests entitled to vote on the Plan.

1.B.5 “Bankruptcy Code” means title 11 of the United States Code (11 U. S.C.
§§ 1101, et_seq.), as in effect on the Petition Date and as amended after the Petition Date and

during the Debtor’s chapter I 1 case.

1.8.6 “Bankruptcy Court” or “Court” means the United States Bankruptcy
Court for the Eastern District of New York, including the United States Bankruptcy Judges
presiding over the Chapter 1! Case, and to the extent it is necessary and appropriate for
jurisdiction to be exercised by the United States District Court for the Eastern District of New
York, including the United States District Judges, this definition will include same.

1.B.7 “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure
as in effect on the Petition Date and as amended after the Petition Date and during the Debtor’s

chapter 11 case.
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1.B.8 “Business Day” means a day on which banks are not required or
authorized to be closed in New York City.

1.B.9 “Cash” means all cash and cash equivalents which evidence available
funds.

1.B.10 “Causes of Action” means al! claims. actions, third-party claims,
counterclaims and crossclaims (including, without limitation, an avoidance, recovery, or
subordination actions against insiders and/or any other persons or entities under §§510, 542, 543,
544, 545, 547, 548, 549, 550, 551 and 553 of the Bankruptcy Code) in favor of the Debtor and/or
the Estate existing on the Effective Date against any entity based in law or equity, whether direct,
indirect, derivative or otherwise, and whether asserted or unasserted as of the date of entry of the
Confirmation Order.

1.B.11 “Chapter 11 Case" means the Debtor’s case under chapter 11 of the
Bankruptcy Code pending before the Bankruptcy Court, entitled “Jn re: Michael Carbone. Sr.~,
Case No. 16-45189 (NHL).

1.8.12 “Claim” means any right to payment from the Debtor, whether or not
such right is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured,
unmatured, disputed, undisputed, legal, equitable, secured or unsecured, known or unknown: or
any right to an equitable remedy for breach of performance if such breach gives rise to a right of
payment’ from the Debtor, whether or not such right to an equitable remedy is reduced to
judgment, fixed, contingent, matured. disputed, undisputed. secured or unsecured.

1.B.13 “Claimant” shall mean the holder of a Claim.

1.B.14 “Class” means a category of holders of Claims or Interests as provided
for in Article IT of this Plan.

1.B.15 “Confirmation” means the entry of the Confirmation Order on the docket
in the Chapter If Case.

1.B.16 “Confirmation Date” means the date of entry by the Bankruptcy Court or
other court of competent jurisdiction of the Confirmation Order.

1.B.17 “Confirmation Order” means an order of the Bankruptcy Court
confirming the Plan in accordance with the Bankruptcy Code.

1.B.18 “Debtor” means Michael Carbone, Sr., the debtor and debtor-in-
possession in this case pending before the Bankruptcy Court.

1.B.19 “Disclosure Statement” means the disclosure statement (and all exhibits
and schedules annexed thereto or referenced therein) that relates to the Plan and that was

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approved pursuant to §1125 of the Bankruptcy Code in an order entered by the Bankruptcy Court
as such disclosure statement may be amended, modified or supplemented.

1.B.20 “Distribution” means the payment of Cash to holders of Allowed Claims
under the provisions of the Plan.

1.B.21 “Effective Date” means the first Business Day which is fourteen (14)
Business Days after the entry of the Confirmation Order.

1.B.22 “Estate” means the estate created in the Chapter! 1 Case pursuant to §541
of the Bankruptcy Code.

1.B.23 “Final Order” means an order of a court as to which (a) any appeal that
has been taken has been determined finally or dismissed or (b) the time for appeal has expired
and (i) no timely appeal has been filed and (11) no order having the effect of tolling or otherwise

extending the appeal period is in effect.

1.B.24 “General Unsecured Claim” means an Allowed Claim against the Debtor
other than a Statutory Fee, an Administrative Claim, a Priority Tax Claim, or Secured Claim.

1.B.25 “Lien” means any valid and enforceable lien, mortgage, security interest,
pledge, charge, encumbrance, or other legally cognizable security device of any kind.

1.B.26 “Person” means any individual, corporation, partnership, association,
joint stock company, joint venture, estate, trust, unincorporated organization or governmental
unit or subdivision thereof or any other entity.

1.B.27 “Petition Date” means November 17, 2016.

1.B.28 “Plan” means this Chapter 11 Plan of Reorganization either in its present
form or as it may be altered, amended or modified from time to time.

1.B.29 “Post-Confirmation Debtor” means the Debtor in his post-Confirmation
Order state.

1.8.30 “Priority Tax Claim™ means that portion of a Claim (i) derived from a tax
obligation and (if) that is entitled to priority under §507(a)(8) of the Bankruptcy Code,

[.B.31 “Professionals” means all attorneys, accountants, financial consultants
and/or other professional persons retamed in the Chapter 11 Case or to be compensated by a
Final Order pursuant to $§327, 328, 330, 331, and/or 1103 of the Bankruptcy Code.

1.B.32 “Property” means the real property located at 1580 North Bayview Road,
Southold, New York.

 
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1.B.33 “Pro Rata” means, with respect to any Allowed Claim in any Class, the
proportion that such Allowed Claim bears to the aggregate amount of all Claims in such Class.

1.8.34 “Schedules” means the schedules of assets and liabilities, schedules of
executory contracts and the statement of financial affairs filed in the Chapter 1] Case as required
by §521 of the Bankruptcy Code, the Official Bankruptcy Forms and the Bankruptcy Rules, and
all amendments thereto.

1.B.35 “Secured Claim” means any Claim that is secured by a Lien against any
property of the Estate, but only to the extent that such Claim is not greater than the value of the
assets of the Debtor securing such debt.

1.B.36 “Statutory Fees” mean any claim for amounts that may be due to the
United States Trustee pursuant to 28 U.S.C. §1930(a}(6).

1.B.37 “U.S. Trustee” means the Office of the United States Trustee.
ARTICLE Ii

PROVISION FOR THE TREATMENT OF STATUTORY FEES,
ADMINISTRATIVE CLAIMS AND PRIORITY TAX CLAIMS

2.1 Generally. Pursuant to §1123 of the Bankruptcy Code, Statutory Fees,
Administrative Claims, and Priority Tax Claims are not classified. The treatment of and
consideration to be received by holders of Allowed Administrative Claims and Allowed Priority
Tax Claims or entities entitled to payment of Statutory Fees pursuant to the Plan shall be in full
and complete satisfaction, settlement, release and discharge of such Claims. The obligations of
the Debtor in respect of such Allowed Administrative Claims and Allowed Priority Tax Claims
shall be satisfied in accordance with the terms of the Plan.

2.2. Statutory Fees. All fees and charges payable to the U.S. Trustee,
including those owed under 28 U.S.C. $1930(a)(6). including any applicable interest, shall be
fully paid. Such fees and charges that are due on or prior to the Effective Date shall fully be paid
on the Effective Date. Such fees, together with any applicable interest thereon, that may become
due after the Effective Date shall be paid as they become due by the Post-Confirmation Debtor
until the entry of a final decree closing the Chapter 11 Case, or until the Chapter 11 Case is
converted or dismissed, whichever occurs earlier.

2.3. Treatment of Administrative Claims. Each holder of an Allowed
Administrative Claim shall receive the full amount of its Allowed Administrative Claim in Cash
on the Effective Date or on such other terms as mutually agreed to by the holder of an Allowed
Administrative Claim.

 
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2.4. Treatment of Priority Tax Claims. In full satisfaction of its Aflowed
Priority Tax Claim, the United States Dept. of Treasury — Internal Revenue Service shall receive
from the Debtor sixty (60) equal consecutive monthly Cash installment Distributions, with
interest at a fixed annual rate equal to 3%, commencing on the Effective Date as follows:

 

 

 

 

 

 

 

 

 

Claim No. | Claimant Claim Monthly Total Payments
Amount Payment
3 Dept. of Treasury -—|} $164,226.69 $2,950.94 $177,056.40
IRS
ARTICLE U1

CLASSIFICATION OF CLAIMS

3.1 Classes. A Claim is classified in a particular Class only to the extent that
the Claim falis within the description of that Class and is classified in another Class or Classes to
the extent that any remainder of the Claim falls within the description of such different Class. A
Claim is classified in a particular Class only to the extent that the Claim is an Allowed Claim
which has not been paid, released or otherwise satisfied before the closing of the Chapter |]
Case by final decree.

3.2 Class I shall consist of the Secured Claim of Ocwen Loan Servicing,
LLC. Class | is not impaired under the Plan.

3.3. Class 2 shall consist of the Secured Claim of Wells Fargo Bank, N.A.
Class 2 is not impaired under the Plan.

3.4 Class 3 shall consist of all General Unsecured Claims. Class 3 is impaired
under the Plan.

ARTICLE IV
TREATMENT OF CLAIMS AND INTERESTS

4] Treatment of Class 1 ~ Ocwen Loan Servicing, LLC Secured Claim.
Ocwen Loan Servicing, LLC, as the holder of the Allowed Class 1 Secured Claim, shall retain its
Lien against the Property and shall continue to be paid by the Debtor in accordance with the
underlying foan agreement and in the ordinary course.

4.2 Treatment of Class 2 -— Wells Fargo Bank, N.A. Secured Claim. Wells
Fargo Bank, N.A., as the holder of the Allowed Class 2 Secured Claim, shall retain its Lien
against the Property and shall continue to be paid by the Debtor in accordance with the
underlying loan agreement and in the ordinary course.

 
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4.3 Treatment of Class 3 — General Unsecured Claims. In full satisfaction of
their Allowed Class 3 General Unsecured Claims, the Debtor shall make a first and final Pro
Rata Distribution of Cash to the holders of such Claims equal to five percent (5%) of their
Allowed Claims on the Effective Date.

ARTICLE V
MEANS FOR IMPLEMENTATION OF THE PLAN

5.1 Funding of Plan, The source of funds to achieve consummation of and to
carry out the Plan shall come from amounts held in escrow by the Debtor's counsel at
Confirmation representing amounts contributed to the Plan by the Debtor from his post-Petition
Date income. Counsel to the Debtor will serve as “Disbursing Agent” for the Debtor with regard
to initial Effective Date Distributions. The Post-Confirmation Debtor shall be responsible for
making any and all post-Confirmation payments to the holders of any Allowed Priority Tax
Claims and Allowed Secured Claims as provided for hereunder.

5.2. Causes of Action. Except as otherwise provided in the Plan, any and all
Causes of Action shali remain assets of the Estate pursuant to §1123(b)(3)(B) of the Bankruptcy
Code and on the Effective Date shall be transferred to and vest in the Post-Confirmation Debtor.
Pursuant to §1123(b)(3)(B) of the Bankruptcy Code, only the Debtor, or the Post-Confirmation
Debtor, as the case may be, shall have the right to pursue or not to pursue. or, subject to the terms
of this Plan, compromise or settle any Causes of Action owned or held by the Debtor and/or his
Estate as of the Effective Date. From and after the Effective Date, the Post- Confirmation
Debtor may commence, litigate, and settle Causes of Action or rights to payment or claims that
belong to the Debtor and/or the Estate on the Effective Date. Other than as set as set forth
herein, no other Person may pursue such Causes of Action after the Effective Date. The
Bankruptcy Court shall retain jurisdiction to adjudicate any and all Causes of Action whether
commenced prior to or after the Effective Date. The benefits, if any, whether in the form of
monetary recoveries, setoffs, recoupments, defenses and the like, of all Causes of Action shall
inure to the benefit of the Debtor and not any Creditors.

5.3. Objections to Claims. From and after the Effective Date, the Debtor shall
be the sole representative of the Estate with regard to objections to Claims. The Debtor may
continue to prosecute any objection to any Claim filed prior to Confirmation after the Effective
Date. Any Claim subject to an objection which has not been adjudicated by Final Order or
otherwise resolved prior to Confirmation will be treated as a Disputed Claim under the Plan.
Any further objections to Claims shall be filed by the Debtor no later than one hundred twenty
(120) days after the Effective Date, which deadline may be extended by the Court upon motion
of the Debtor without notice. In the event that any Proof of Claim is filed or asserted after the
Effective Date, the Debtor shall have ninety (90) days from the date of such filing or notice to
object to such Claim, which deadline may be extended by the Court upon motion of the Debtor
without notice. All objections shall be litigated to Final Order. The Debtor reserves the right to
compromise, settle, withdraw or resolve by any other method approved by the Bankruptcy Court,
any such objections to Claims.

 
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5.4 Post-Petition Date Property of the Estate. In accordance with §1115 of
the Bankruptcy Code, the Debtor’s post-Petition Date earnings have been utilized to pay
creditors or are otherwise being contributed to the payment of creditors under the Plan.

ARTICLE V1
DISTRIBUTIONS

6.1 Unclaimed Distributions. Any unclaimed Distributions (including
Distributions made by checks which fail to be negotiated) shall be retained by the Debtor in trust
for the beneficial holders of Allowed Claims entitled thereto for a period of one hundred twenty
(120) days after the Distribution Date in a depository authorized by the United States Trustee for
bankruptcy cases in the Eastern District of New York. Any Distribution remaining unclaimed
one hundred twenty (120) days after the Distribution Date shall be canceled (by a stop payment
order or otherwise), the Claim relating to such Distribution shall be deemed forfeited and
expunged and the holder of such Claim shall receive no further Distributions under the Plan.
Any and all cancelled Distributions shall be deemed Available Cash and shall be distributed to
the holders of Claims in accordance with the Plan.

6.2 Fractional Cents. Any other provision of the Plan to the contrary
notwithstanding, no payment or distribution in fractions of cents will be made. Whenever any
payment of a fraction of a cent would otherwise be called for, the actual payment shall reflect a
rounding down of such fraction to the nearest whole cent.

6.3. Payments of Less Than Five Dollars. Jf a cash payment otherwise
provided for by the Plan with respect to an Allowed Claim would be less than five ($5.00)
dollars (whether in the aggregate or on any payment date provided in the Plan), notwithstanding
any contrary provision of the Plan, the Debtor shall not be required to make such payment and
such funds shall be otherwise distributed to holders of Allowed Claims in accordance with the

Plan.

ARTICLE Vil
UNEXPIRED LEASES AND EXECUTORY CONTRACTS

7.10 Assumption and Rejection of Executory Contracts and Leases. As of the
Effective Date, the lease agreement with regard to a certain residential apartment unit located at
245 East 58" Street, Apt. 16F. New York, New York shall be deemed rejected by the Debtor.
All executory contracts and unexpired leases to which the Debtor is a party as of the Effective
Date which were not previously rejected. assumed, or assumed and assigned by the Debtor shall
be deemed rejected and disaffirmed under the Plan as of the Effective Date in accordance with
the provisions and requirements of §§365 and 1123 of the Bankruptcy Code.

7.2 Claims Based on Rejection of Executory Contracts or Unexpired Leases.
All proofs of claim with respect to any Claims arising from the rejection of executory contracts
or unexpired leases must be filed with the Bankruptcy Court within thirty (30) days after the

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mailing of notice of the entry of the Confirmation Order. The failure of any such counter party
to file a proof of claim within the period proscribed shall forever bar it from asserting against the
Estate any Claim for damages arising from the rejection of its executory contract or unexpired
lease with the Debtor. The filing of any such proof of claim shall be without prejudice to any
and all rights that the Debtor may have to object to the allowance thereof on any and all available

grounds.
ARTICLE VUI

CONDITIONS PRECEDENT TO EFFECTIVENESS OF THE PLAN

8.1 Conditions Precedent to Confirmation of the Plan. It is a condition to
Confirmation that (a) the Confirmation Order shall approve in all respects all of the provisions,
terms and conditions of the Plan, and (b) the Confirmation Order is satisfactory to the Debtor in
form and substance.

8.2 Conditions Precedent to Effective Date of the Plan. The Plan shall not
become effective unless and until each of the following conditions has been satisfied or waived:

(a) The Bankruptcy Court shall have entered the Confirmation Order; and
(b) The Confirmation Order shall have become a Final Order.

8.3 Waiver of Conditions. The Debtor may at any time, without notice or
authorization of the Bankruptcy Court. waive any or all of the conditions set forth in Sections 8.1
and/or 8.2, above. The failure of the Debtor to satisfy or waive such condition may be asserted
by the Debtor regardless of the circumstances giving rise to the failure of such condition to be
satisfied (including any actions taken by the Debtor). The Debtor reserves his right to assert that
any appeal from the Confirmation Order shall be moot after substantial consummation of the

Plan.

8.4 Effect of Failure of Condition. In the event that the conditions specified in
Sections 8.1 and/or 8.2 have not occurred or been waived on or before one-hundred-eighty (180)
days after the Confirmation Date, the Confirmation Order may be vacated upon order of the
Bankruptcy Court made by the Debtor or any party in interest and an opportunity for parties in

interest to be heard.
ARTICLE IX

EFFECT OF CONFIRMATION

9.1 Authority to Effectuate Plan, Upon the Confirmation Order becoming a
Final Order, all matters provided under the Plan shall be deemed to be authorized and approved
without the requirement of further approval from the Bankruptcy Court or the Debtor. The
Debtor shall be authorized, without further application to or order of the Bankruptcy Court to
take whatever action necessary to achieve consummation and carry out the Plan and to effectuate
the transactions provided for thereunder.

 
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9.2 Binding Effect. Except as otherwise expressly provided for in the Plan, on
and after the Effective Date, the Plan shall bind all holders of Claims, whether or not such
holders voted to accept or reject the Plan.

ARTICLE X
DISCHARGE; LIMITATION OF LIABILITY

10.1 Discharge. In accordance with §1141(d)(5) of the Bankruptcy Code, upon
the completion of all payments required under the Plan, the Bankruptcy Court will enter a
discharge of the Debtor from his debts that arose before the Confirmation Date. As such, the
rights afforded in the Plan and the treatment of all Claims therein shall be in exchange for and in
complete satisfaction and release of all claims of any nature whatsoever (including any interest
accrued on such Claims), from and after the Petition Date against the Debtor and his Estate
except as otherwise provided in this Plan, in $1141 of the Bankruptcy Code, or in the
Confirmation Order.

10.2 Continuation of Stays. AI stays provided for in the Chapter 11 Case
under $362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date,
shall remain in full force and effect until the completion of all payments required under the Plan.

10.3. Limitation of Liability. Pick & Zabicki LLP. as “disbursing agent” in
connection with the initial Distributions under the Plan, shall incur no liability, whatsoever, for
any action taken, or failure to act, except for its own gross negligence, willful misconduct,
breach of fiduciary duty, criminal conduct and/or any disclosure of confidential information that
causes damages. Further, the Debtor and his professionals shall have or incur no liability to the
extent allowed under §1125(e) of the Bankruptcy Code and, in all respects. the Debtor and his
professionals shall be entitled to rely upon the advice of counsel with respect to their duties and
responsibilities under the Plan. Nothing in the Plan shall limit the liability of the professionals of
the Debtor to their respective clients pursuant to N.Y. Comp. Codes R. & Regs. Title 22, Section
1200.0, Rule 1.8(h)(1). Additionally, the Plan shail not release or exculpate any person or entity
from any Claim or Cause of Action existing as of the Effective Date (i) based on the Internal
Revenue Code or other domestic state, city or municipal tax code: {ii} based on the
environmental laws of the United States or any domestic state, city or municipality; (iii) based on
any criminal laws of the United States or any domestic state. city or municipality; (iv) based on
the Securities Exchange Act of 1934, as now in effect or hereafter amended, the Securities Act of
1933, as now in effect or hereafter amended, or other securities laws of the United States or any

domestic state, city, or municipality.
ARTICLE XI
RETENTION OF JURISDICTION

{1. Following the Confirmation Date and until such time as all payments and
Distributions required to be made and all other obligations required to be performed under the

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Plan have been made and performed and the Final Decree has been entered closing the Chapter
Il Case, the Bankruptcy Court shall retain jurisdiction over this proceeding under the provisions
of the Bankruptcy Code, including, without limitation, §1142(b) thereof and the Bankruptcy
Rules, to ensure that the intent and the purpose of the Plan is carried out and given effect.
Without limitation by reason of specification, the Bankruptcy Court shall retain jurisdiction for
the following purposes:

(a)

To consider any modification of the Plan pursuant to §1127 of the

Bankruptcy Code and/or any other modification of the Plan after substantial
consummation thereof;

(b)

12.1

To hear and determine:

(i) all controversies, suits and disputes, if any, as may arise in
connection with the interpretation, implementation, consummation or
enforcement of the Plan;

(it) all controversies, suits and disputes, if any, as may arise between
or among the holders of any Class of Claim and the Debtor including,
without limitation, proceedings to determine the allowance, classification,
amount, or priority of Claims:

{iii} all rights or Causes of Action which may exist on behalf of the
estate, including actions commenced to recover preferential transfers,

accounts receivable and other property of the estate;

(tv) applications for allowance of compensation and expense
reimbursement of professionals for periods prior to the Effective Date;

(v) any and all applications, adversary proceedings and litigated
matters;

(vi) to enter a final decree closing the Chapter 11 Case; and
(vii) to the extent not expressly provided for above, any and all disputes
arising under the Plan and proceedings in aid of the administration and/or
consummation of the Plan.
ARTICLE XII
MISCELLANEOUS PROVISIONS

Headings. Headings are used in the Plan for convenience of reference

onty and shall not constitute a part of the Plan for any other purpose.

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12.2. Revocation. The Debtor shall have the right to revoke or withdraw the
Plan at any time prior to the Confirmation Date. If the Plan is revoked or withdrawn, it shall be
deemed null and void, and in such event, nothing contained herein shall be deemed to constitute
a waiver or release of any Claim by or against the Debtor, or any other entity. or to prejudice in
any manner, the rights of the Debtor or any entity in any further proceeding involving the
Debtor.

12.3. Notices. Any notice to the Debtor or the Post-Confirmation Debtor
required or permitted to be provided under the Plan shalf be in writing and shall be served by
either: (a) certified mail, return receipt requested, postage prepaid; (b) hand delivery: or (c)
reputable overnight delivery service freight prepaid, to be addressed as follows:

Hf to the Debtor or the Post-Confirmation Debtor:

Michael Carbone, Sr.
1580 North Bayview Road
Southold, New York 11971

With a copy to:

Pick & Zabicki LLP

369 Lexington Avenue, 12" Floor
New York, NY 10017

Attn: Douglas J. Pick, Esq.

12.4 Pre-Confirmation Modification. On notice to and opportunity to be heard
by the U.S. Trustee, the Plan may be altered, amended or modified by the Debtor prior to the
Confirmation Date as provided in §1127 of the Bankruptcy Code.

12.5 Post-Confirmation Immaterial Modification, After the Confirmation
Date and prior to substantial consummation of the Plan, the Post-Confirmation Debtor may,
under §1127(b) of the Bankruptcy Code, institute proceedings in the Bankruptcy Court to
remedy any defect or omission or reconcile any inconsistencies in the Plan, the Disclosure
Statement, or the Confirmation Order, and such matters as may be necessary to carry out the
purposes and effects of the Plan and such proceedings do not materially adversely affect the
treatment of holders of the Claims under the Plan; provided however, that prior notice of such
proceedings shall be served in accordance with the Bankruptcy Rules or order of the Bankruptcy

Court.

12.6 Successors and Assigns. The rights, benefits and obligations named or
referred to in the Plan shall be binding on. and shall inure to the benefit of the Debtor and all
holders of Claims and Interests, their respective successors and assigns. The provisions of all
documents executed under or in connection with this Plan shall be valid and enforceable and
binding upon and inure to the benefit of the Debtor and all other parties thereto and their
respective predecessors, successors, assigns, agents, officers and directors.

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12.7 Governing Law’. Unless a rule of law or procedure is supplied by federal
law (including the Bankruptcy Code and the Bankruptcy Rules), the laws of the State of New
York shall govern the construction and implementation of the Plan and, unless otherwise stated
therein, any agreements, documents, and instruments executed in connection with the Plan.

12.8 Saturday, Sunday or Legal Holidav. if any payment or act under the Plan
is required to be made or performed on a date that is not a Business Day, then the making of such
payment or the performance of such act may be completed on the next succeeding Business Day,
but shall be deemed to have been completed as of the required date.

12.9 Enforceability. Should any provision in the Plan be determined to be
unenforceable, such determination shall in no way limit or affect the enforceability or operative
effect of any and all other provisions of the Plan.

12.10 Plan Controls. To the extent, the Plan is inconsistent with the Disclosure
Statement, the provisions of the Plan shall be controlling.

12.11 Reservation of Rights, Neither the filing of the Plan nor any statement or
provision contained therein shall be or be deemed to be an admission against interest. In the
event that the Effective Date shall not occur, neither the Plan nor any statement contained therein
may be used or relied upon in any manner in any suit, action, proceeding, or controversy within
or outside of the Chapter 11 Case.

12.12 Substantial Consummation. The Plan will be deemed substantially
consummated, as such terms is used in §1101(2) of the Bankruptcy Code, upon the
commencement of Distributions to the holder of any Class of Claims under the Plan. Following
such substantial consummation, any appeal, rehearing or other post-confirmation motion of any
nature with respect to the Plan or the Confirmation Order except as specifically provided herein
or therein shall be rendered moot and no longer justiciable.

12.13. Post-Confirmation Reporting. The Post-Confirmation Debtor shall file
reports on a quarterly basis in a format to be mutually agreed with the Office of the United States

Trustee.

12.14 Final Decree. In accordance with Rule 3022-1 of the Local Bankruptcy
Rules for the Eastern District of New York, within fourteen (14) days following the full
administration of the Estate, the Debtor will file, on notice to the United States Trustee, an
application and proposed order for a final decree pursuant to Bankruptcy Rule 3022, without
prejudice to the Court’s ability to reduce or extend the time to file such application.

 
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ARTICLE XHil
CONFIRMATION REQUEST

13.1 The Debtor hereby requests Confirmation of the Plan pursuant to §1129
of the Bankruptcy Code.

Dated: New York!) New York
March >, 2019

Respectfully submitted,

    

ichael Carbone, Sr.
Debtor-In-Possession

READ AND APPROVED:

 

   

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